                      UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                           CASE NO. 3:07CR119-FDW-DCK


UNITED STATES OF AMERICA,                   )
                                            )
       Plaintiff,                           )
                                            )
v.                                          )         ORDER GRANTING ADMISSION
                                            )               PRO HAC VICE
JAMIE LIGATOR,                              )
                                            )
       Defendant                            )



       THIS MATTER is before the Court on Defendant’s “Unopposed Motion For

Application To Practice Pro Hac Vice” of Hugo A. Rodriguez. The Motion is hereby

GRANTED. To the extent Hugo A. Rodriguez asks for “special admission” without the

benefit of local counsel, the motion is DENIED.

       Pursuant to Local Rule 83.1(B), counsel shall remit the required admission fee to the

Clerk of Court for the Western District of North Carolina within twenty-one (21) days of this

Order. Counsel shall obtain local counsel within 30 days from the date of this Order.


                                                 Signed: August 24, 2009




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